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                      IN THE UNITED STATES DISTRICT COURT

                       FOR THE WESTERN DISTRICT OF TEXAS

                                      WACO DIVISION


UNITED STATES OF AMERICA                        §
                                                §
v.                                              §     CRIMINAL NO. W-24-CR-252-ADA-1
                                                §
APRIL MARIE AKIN                                §

                         REPORT AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE

TO:    THE HONORABLE ALAN D ALBRIGHT,
       UNITED STATES DISTRICT JUDGE

       The undersigned submits this Report and Recommendation to the district judge pursuant

to 28 U.S.C. § 636(b) and Rule 1 of Appendix C of the Local Court Rules of the United States

District Court for the Western District of Texas, Local Rules for the Assignment of Duties to

United States Magistrate Judges. Before the Court is the petition of the United States Probation

Office recommending the revocation of the defendant’s term of supervision. The district judge

referred the matter to the undersigned for the preparation of a report and recommendation.

                            I. PROCEDURAL BACKGROUND

       The defendant was found guilty of Count One: Conspiracy to Possess with Intent to

Distribute, and to Distribute, 280 Grams or More of a Mixture and Substance Containing a

Detectable Amount of Cocaine Base, “Crack”, in violation of 21 U.S.C. 841 (a)(1), 21 U.S.C.

841 (b)(1)(A), and 21 U.S.C. 846 Count Two: Aiding and Abetting the Possession with Intent to

Distribute 28 grams or more of a Mixture and Substance Containing a Detectable Amount of

Cocaine Base, “Crack”, in violation of 21 U.S.C. 841(a)(1) 21 U.S.C. (b)(1)(B), and 18 U.S.C. 2.


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The Court sentenced the defendant to 120 months as to count one and 87 months as to count two

in the Bureau of Prison all to be served concurrently, followed by a five (5) year term of

supervised release as to count one and count two all to be served concurrently. The defendant

began her supervision on August 7, 2020. On February 25, 2025, the United States Probation

Office filed a Petition for Warrant or Summons for Offender Under Supervision, alleging the

defendant violated the terms of her release and seeking a show-cause hearing as to why the

defendant’s supervised release should not be revoked. The petition alleges the defendant violated

the terms of her release in the following instance:

        Violation Number 1: The defendant violated mandatory condition number 1, in
        that, the defendant shall not commit another federal, state, or local crime during
        the term of supervised release. On or about February 16, 2025, the defendant was
        intoxicated while operating a motor vehicle in a public place in violation of Texas
        Penal Code § 49.04, a Class B Misdemeanor.

                               II. FINDINGS OF THE COURT

        The Court held a hearing in this matter on March 18, 2025. At that hearing, Defendant

pleaded no contest as to the violation. The petition contained a sufficient factual basis to support

a plea of true.

1)      The defendant violated the conditions of her supervision as alleged in the petition.

2)      The defendant was competent to make the decision to enter a plea to the allegations.

3)      The defendant had both a factual and rational understanding of the proceedings against

        her.

4)      The defendant did not suffer from any physical or mental impairment that would affect

        her ability to fully understand the charges against her or the consequences of her plea.

5)      The defendant has not had any injury that would affect her judgment in entering a plea or

        that would affect her understanding of the basis, consequences, or effect of her plea.

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6)     The defendant was sane and mentally competent to stand trial for these proceedings.

7)     The defendant was sane and mentally competent to assist her attorney in the preparation

       and conduct of her defense.

8)     The defendant received a copy of the petition naming her, and she either read it or had it

       read to her.

9)     The defendant understood the petition and the charges alleged against her and had the

       opportunity to discuss the petition and charges with her attorney.

10)    The defendant understood that he had the right to present evidence and to cross-examine

       witnesses at the hearing.

11)    The defendant freely, intelligently, and voluntarily entered her plea to the allegations.

12)    The defendant understood her statutory and constitutional rights and desired to waive

       them.

                                      III. RECOMMENDATION

       The undersigned has carefully considered all the arguments and evidence presented by

the parties and RECOMMENDS that the defendant’s supervised release be continued. The

defendant shall participate in a program of testing for alcohol abuse, as instructed by the

probation officer, which shall include the use of a remote alcohol testing system for the

remaining term of her supervised release. The defendant shall abide by the rules and regulations

of the Participant Agreement Form. The defendant shall abide by a curfew restriction schedule

for alcohol testing as instructed by the probation officer. The defendant shall pay for the costs of

the program.




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                                        IV. WARNINGS

         The parties may file objections to this Report and Recommendation. A party filing

objections must specifically identify those findings or recommendations to which objections are

being made. The district court need not consider frivolous, conclusive, or general objections. See

Battles v. United States Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987).

         A party’s failure to file written objections to the proposed findings and recommendations

contained in this Report within fourteen (14) days after the party is served with a copy of the

Report shall bar that party from de novo review by the district judge of the proposed findings and

recommendations in the Report and, except upon grounds of plain error, shall bar the party from

appellate review of unobjected-to proposed factual findings and legal conclusions accepted by

the district judge. See 28 U.S.C. 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140, 150-53 (1985);

Douglass v. United Services Automobile Association, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en

banc).

         SIGNED this 19th day of March 2025.




                                              DEREK T. GILLILAND
                                              UNITED STATES MAGISTRATE JUDGE




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